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 1   BRUCE LOCKE (#177787)
     Moss & Locke
 2   555 University Avenue, Suite 170
     Sacramento, CA 95825
 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     Enrique Morales
 5
 6                           IN THE UNITED STATES DISTRICT COURT
 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                No. CR. S-07-314 FCD
                                         )
 9                     Plaintiff,        )                STIPULATION AND ORDER
                                         )                CONTINUING THE STATUS
10                                       )                CONFERENCE FROM JULY 26
           v.                            )                2010 TO AUGUST 16, 2010 AT
11                                       )                10:00 A.M.
     ENRIQUE MORALES, et. al.,           )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          The defendants, by and through their attorneys, and the United States by and through its
15   attorney, Matthew Stegman, hereby stipulate that the Status Conference currently scheduled for July
16   26, 2010 at 10:00 a.m., should be continued to August 16, 2010 at 10:00 a.m. The reason for the
17   continuance is that the defense needs additional time to review the discovery and two attorneys
18   cannot attend on the 26th. Accordingly, the time between July 26, 2010 and August 16, 2010 should
19   be excluded from the Speedy Trial calculation pursuant to Title 18 United States Code, Section
20   3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that the ends
21   of justice served by granting this continuance outweigh the best interests of the public and the
22   defendants in a speedy trial. 18 U.S.C. §3161(h)(7)(A). Ms. Stegman and the other defense
23   attorneys have authorized Mr. Locke to sign this document for them.
24
25   DATED: July 22, 2010                                     /S/ Bruce Locke
                                                          BRUCE LOCKE
26                                                        Attorney for Enrique Morales
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29                                                   1
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 1
 2
     DATED: July 22, 2010                                    /S/ Bruce Locke
 3                                                       MIGUEL ANGEL HERNANDEZ
                                                         Attorney for Jose Luis Morales
 4
 5   DATED: July 22, 2010                                    /S/ Bruce Locke
                                                         CLARENCE EMMETT MAHLE
 6                                                       Attorney for Juan Morales
 7
     DATED: July 22, 2010                                    /S/ Bruce Locke
 8                                                       TIMOTHY F. WARRINER
                                                         Attorney for Teresa Maria Morales
 9
10   DATED: July 22, 2010                                    /S/ Bruce Locke
                                                         DONALD P. DORFMAN
11                                                       Attorney for Petra Preciado Morales
12
     DATED: July 22, 2010                                   /S/ Bruce Locke
13                                                       For MATTHEW STEGMAN
                                                         Assistant United States Attorney
14
15
                                                 ORDER
16
            For the reasons stated in the parties' stipulation, the Court hereby orders that the status
17
     conference scheduled for July 26, 2010 is continued to August 16, 2010 at 10:00 a.m.
18
            The Court further finds that the interests of justice served by granting the continuance
19
     outweigh the best interests of the public and the defendant in a speedy trial. Therefore, time is
20
     excluded from the speedy trial calculation for counsel preparation under the Speedy Trial Act from
21
     January 11, 2010 until February 16, 2010 pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code
22
     T-4.
23
            IT IS SO ORDERED.
24
25   DATED: July 22, 2010                        _______________________________________
26                                               FRANK C. DAMRELL, JR.
                                                 UNITED STATES DISTRICT JUDGE
27
28
29                                                   2
